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                                                                                                     United States District Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                                  UNITED STATES DISTRICT COURT                                            July 09, 2020
                                   SOUTHERN DISTRICT OF TEXAS                                          David J. Bradley, Clerk
                                       MCALLEN DIVISION

NORTH AMERICAN BUTTERFLY                                  §
ASSOCIATION DBA NATIONAL                                  §
BUTTERFLY CENTER, et al,                                  §
                                                          §
          Plaintiffs,                                     §
VS.                                                       §    CIVIL ACTION NO. 7:19-CV-00411
                                                          §
NEUHAUS & SONS, LLC, et al,                               §
                                                          §
          Defendants.                                     §

                     ORDER TO SHOW CAUSE FOR FAILURE TO SERVE
                             DEFENDANT BRIAN KOLFAGE

         Plaintiffs North American Butterfly Association and Mariana Trevino Wright filed their

Original Petition and Application for Injunctive Relief in the above-referenced action on

December 3, 2019, in the 398th Judicial District Court, Hidalgo County, Texas. (Dkt. No. 1,

Exs. B, D). The record contains no indication that Defendant Brian Kolfage has been served.1

See Dkt. No. 36 (noting Defendant Brian Kolfage has not been served). Therefore, the Court will

order the dismissal without prejudice of Plaintiffs’ claims against this Defendant unless Plaintiffs

can show, within 14 days of the date of this Order, good cause for their failure to effect service

within the time period prescribed by the Federal Rules. See FED. R. CIV. P. 4(m).

         SO ORDERED this 9th day of July, 2020, at McAllen, Texas.


                                                          ___________________________________
                                                          Randy Crane
                                                          United States District Judge


1
  The Court notes that at the December 19, 2019 Status Conference Plaintiffs represented to the Court that they had
attempted to serve Defendant Brian Kolfage six times and would be filing a motion to substitute service. Nearly
seven months later, at the July 8, 2020 Status Conference, Plaintiffs again represented that they intended to file a
motion to substitute service. The Court issues this Order now as seven months have passed since Plaintiffs filed their
Original Petition (Dkt. No. 1, Ex. B), and Plaintiffs have yet to serve Defendant Brian Kolfage.
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